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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

GLORIA BASARABA, On Behalf of Herself
                                   §
and All Others Similarly Situated, §
                                   §                       Civil Action No. 4:14-cv-1558
                     Plaintiff,    §
                                   §
v.                                 §
                                   §
PETROLOGISTICS LP, PETROLOGISTICS §
GP LLC, PROPYLENE HOLDINGS LLC,    §
JAIME BUEHL-REICHARD, ALAN E.      §
GOLDBERG, LANCE L. HIRT, ZALMIE    §
JACOBS, PHILLIP D. KRAMER, ROBERT §
D. LINDSAY, DAVID LUMPKINS,        §
NATHAN L. TICATCH, JOHN B. WALKER, §
ANDREW S. WEINBERG, HALLIE A.      §
VANDERHIDER, FLINT HILLS           §
RESOURCES, LLC, and FHR PROPYLENE §
LLC,                               §
                                   §
                     Defendants.   §


                                   NOTICE OF DISMISSAL

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff Gloria Basaraba, by her undersigned counsel, hereby voluntarily

dismisses, without prejudice, this action against all Defendants.

       DATED: September 4, 2014.

                                              Respectfully submitted,

                                                     /s/ Thomas E. Bilek
                                              THOMAS E. BILEK
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                                 CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was filed via this District’s CM/ECF
system on September 3, 2014, which caused an electronic copy of same to be served
automatically upon all counsel of record.

                                                  /s/ Thomas E. Bilek
                                             Thomas E. Bilek




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